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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

 

 

JILL BROWN )
)
Plaintiff ) Case Number: 12-0500
)
VS. )
)
SUNRISE CREDIT SERVICES, INC. )
)
Defendant )
)
NOTICE OF DISMISSAL

PLEASE TAKE NOTICE that plaintiffs, Jill Brown, pursuant to Rule 41(a)(1)q)

of the Rules of the United States District Court, hereby dismisses the action captioned

above with prejudice.

BY: /s/ Bruce K. Warren
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